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                                  UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEW JERSEY


  REGINA CRITCHLEY, Individually and on                       Civil Action No.: 17-cv-6436 (PGS)
  behalf of all others similarly situated,

                                Plaint                        ORDER FOR APPOINTMENT OF
                                                              LEAD PLAINTIFF AND
              v.                                              APPROVAL OF SELECTION
                                                              OF COUNSEL
  DR. REDDY’S LABORATORIES LIMITED,
  G.V. PRASAD, and SAUMEN
  CHAKRABORTY.

                                Defendants.



        Having considered the application by the Public Employees’ Retirement System of

Mississippi (“Mississippi PERS”) seeking appointment as Lead Plaintiff and approval of its

selection of Labaton Sucharow LLP (“Labaton Sucharow”) as Lead Counsel and Kaplan Fox &

Kilsheimer LLP (“Kaplan Fox”) as Liaison Counsel for the proposed Class, pursuant to Section

21D(a)(3)(B) of the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §78u-

4(a)(3)(B), as amended by the Private Securities Litigation Reform Act of 1995 (“PSLRA”), and

for good cause shown (the “Motion”), the Court hereby enters the following order:

        IT IS HEREBY ORDERED THAT:

        I.         The motion (ECF No. 12) is granted.

        II.        Motions ECF No. 6 and ECF No. 9 are denied as moot.

       III.        This order (the “Order”) shall apply to the above-captioned action (the “Action”)

and to each case that relates to the same subject matter that is subsequently filed in this Court or

is transferred to this Court, and is consolidated with the Action.

       IV.         A Master File is established for this proceeding. The Master File shall be Civil

Action No. 3:17-cv-06436-PGS-DEA. The Clerk shall file all pleadings in the Master File and
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 note such filings on the Master Docket. Every pleading in the Action shall have the following

caption:


                                                )
IN RE DR. REDDY’S LABORATORIES                  )       Civil Action No.: 3:l7-cv-06436-PGS-DEA
LIMITED SECURITIES LITIGATION                   )


        V.        Each new case that arises out of the subject matter of the Action shall be

consolidated with the Action. This Order shall apply thereto, unless a party objects to

consolidation, or to any provision of this Order, within two weeks after the date upon which a

copy of this Order is served on counsel for such party by filing an application for relief, and this

Court deems it appropriate to grant such application. Nothing in the foregoing shall be construed

as a waiver of Defendants’ right to object to the consolidation of any subsequently-filed or

transferred related action.


        VI.       Mississippi PERS is appointed to serve as Lead Plaintiff in the Action pursuant to
15 U.S.C.     § 78u-4(a)(3)(B).
        VII.      Mississippi PERS’ selection of Labaton Sucharow as Lead Counsel and Kaplan
Fox as Liaison Counsel for the Class is approved pursuant to 15 U.S.C.       § 78u-4(a)(3)(B)(v).
Lead Counsel shall have the authority to speak for all Plaintiffs and Class members in all matters
regarding the litigation, including, but not limited to, pre-trial proceedings, motion practice, trial,
and settlement. Lead Counsel shall make all work assignments in such a manner as to facilitate
the orderly and efficient prosecution of this litigation, and to avoid duplicative or unproductive
effort. Additionally, Lead Counsel shall have the following responsibilities:


       A.         to brief and argue motions;

       B.        to initiate and conduct discovery, including, but not limited to, coordination of

discovery with Defendants’ counsel, and the preparation of written interrogatories, requests for

admissions, and requests for production of documents;
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          C.     to direct and coordinate the examination of witnesses in depositions:

          D.     to act as spokesperson at pretrial conferences;

          E.     to initiate and conduct any settlement negotiations with Defendants’ counsel;

          F.     to consult with and employ experts;

          G.     to receive and review periodic time reports of all attorneys on behalf of Plaintiffs,

to determine if the time is being spent appropriately and for the benefit of Plaintiffs, and to

determine and distribute Plaintiffs’ attorneys’ fees:

         H.      to perform such other duties as may be expressly authorized by further order of

this Court.

         I.      To present any issues, problems among Plaintiffs’ counsel to the Court on a

timely basis;

         J.      Appointment of lead counsel shall be reviewed on an annual basis from the date

of this Order.

IT IS SO ORDERED.

Dated:




                                                   PETER G. SHERIDAN, U.S.D.J.
